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                   IN THE DISTRICT COURT OF THE UNITED STATES

                        FOR THE DISTRICT OF SOUTH CAROLINA

                           GREENWOOD/ANDERSON DIVISION




UNITED STATES OF AMERICA )                          CR. NO. 8:19-181
                         )
          -vs-           )                          MOTION TO MODIFY BOND
                         )
TREVOR MAURICE HULL      )



              Now comes the defendant, Trevor M. Hull, through his attorney, and respectfully

moves this Court to modify the conditions of his bond to temporarily remove electric monitor

and home confinement as bond conditions on August 4, 2019.

              Defendant was arraigned on February 26, 2019. Defendant was placed on a

$50,000.00 secure bond with conditions. Mr. Hull has been in compliance with all bond

conditions. He requests that the court modify the conditions of his bond to temporarily remove

the electric monitor and home confinement. Mr. Hull’s wife is graduating from college on

August 4, 2019, in Columbia, South Carolina. Mr. Hull requests that he be allowed to attend the

graduation and asks that he be temporarily released from the conditions of home detention and

GPS monitoring for the period between 6:00 a.m. to 11 p.m. on August 4, 2019.
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       U.S. Probation has no objection to the Defendant attending the graduation. The

Government would be opposed to a permanent change in the Defendant’s bond conditions,

however, will follow the recommendation of probation.



                                    Respectfully submitted,

                                    s/James B. Loggins
                                    James Barlow Loggins, Assistant
                                    Federal Public Defender
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                                    (864) 235-8714


July 22, 2019

Greenville, South Carolina
